USCA11 Case: 24-11213    Document: 22-1     Date Filed: 08/27/2024   Page: 1 of 4




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 24-11213
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       BOBBY MARTIN,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                     for the Southern District of Florida
                    D.C. Docket No. 0:07-cr-60153-JIC-2
                          ____________________
USCA11 Case: 24-11213      Document: 22-1      Date Filed: 08/27/2024     Page: 2 of 4




       2                      Opinion of the Court                  24-11213


       Before JILL PRYOR, BRANCH, and BRASHER, Circuit Judges.
       PER CURIAM:
              Bobby Martin, a federal prisoner proceeding pro se, appeals
       the district court’s denial of his motion for compassionate release
       under 18 U.S.C. § 3582(c)(1)(A), arguing that the district court failed
       to consider his arguments that he presented extraordinary and
       compelling circumstances warranting a sentence reduction based
       on U.S.S.G. § 1B1.13(b)(5)’s “catchall” provision and a change in
       the caselaw determining that conspiracy to commit Hobbs Act rob-
       bery is no longer a predicate “crime of violence” under 18 U.S.C.
       § 924(c)(3). In response, the government moves for summary affir-
       mance, arguing that Martin fails to challenge on appeal the district
       court’s determinations that the 18 U.S.C. § 3553(a) factors weighed
       against a reduction and that Martin posed a danger to the commu-
       nity.
               Summary disposition is appropriate either where time is of
       the essence, such as “situations where important public policy is-
       sues are involved or those where rights delayed are rights denied,”
       or where “the position of one of the parties is clearly right as a mat-
       ter of law so that there can be no substantial question as to the out-
       come of the case, or where, as is more frequently the case, the ap-
       peal is frivolous.” Groendyke Transp., Inc. v. Davis, 406 F.2d 1158,
       1162 (5th Cir. 1969). A motion for summary affirmance postpones
       the due date for the filing of any remaining brief until we rule on
       the motion. 11th Cir. R. 31-1(c).
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       24-11213               Opinion of the Court                         3

              We review de novo whether a defendant is eligible for a sen-
       tence reduction under 18 U.S.C. § 3582(c)(1)(A). United States v. Gi-
       ron, 15 F.4th 1343, 1345 (11th Cir. 2021). After eligibility is estab-
       lished, we will review the district court’s denial of a prisoner’s
       § 3582(c)(1)(A) motion for an abuse of discretion. Id. We may af-
       firm on any ground supported by the record. United States v.
       Thomas, 32 F.4th 1073, 1077 (11th Cir. 2022).
             A district court may grant compassionate release under
       18 U.S.C. § 3582(c)(1)(A) if: (1) an extraordinary and compelling
       reason exists; (2) a sentencing reduction would be consistent with
       U.S.S.G. § 1B1.13; and (3) the § 3553(a) factors weigh in favor of
       compassionate release. United States v. Tinker, 14 F.4th 1234,
       1237-38 (11th Cir. 2021). When the district court finds that one of
       these three prongs is not met, it need not examine the other
       prongs. Giron, 15 F.4th at 1348.
               When a district court’s judgment is based on multiple, inde-
       pendent grounds, an appellant must convince this Court that every
       stated ground for the judgment against him is incorrect. Sapuppo v.
       Allstate Floridian Ins. Co., 739 F.3d 678, 680 (11th Cir. 2014). If an
       appellant fails to challenge on appeal one of the independent
       grounds for the district court’s judgment, he has abandoned any
       challenge of that ground, and the judgment is due to be affirmed.
       Id.              An issue not raised on appeal will be deemed abandoned and
       will be addressed only in extraordinary circumstances. United States
       v. Campbell, 26 F.4th 860, 872-73 (11th Cir.) (en banc), cert. denied,
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       4                      Opinion of the Court                 24-11213

       143 S. Ct. 95 (2022). A party fails to adequately brief a claim when
       he does not plainly and prominently raise it, for instance by devot-
       ing a discrete section of his argument to those claims. Sapuppo, 739
       F.3d at 680. Abandonment of a claim or issue can also occur when
       the passing references to it are made in the “statement of the case”
       or “summary of the argument” sections, or when only passing ref-
       erences appear in the argument section of an opening brief, partic-
       ularly when the references are mere background to the appellant’s
       main arguments or when they are buried within those arguments.
       Id. at 681-82.
               Here, we summarily affirm the denial of Martin’s
       § 3582(c)(1)(A) motion because Martin failed to challenge on ap-
       peal each of the district court’s independent grounds for denying
       his motion, specifically, the district court’s determination that the
       § 3553(a) factors weighed against a sentence reduction. See Camp-
       bell, 26 F.4th at 872-73; Giron, 15 F.4th at 1348; Groendyke, 406 F.2d
       at 1162. As Martin cannot show that each of the multiple, inde-
       pendent grounds for the district court’s judgment is incorrect, the
       judgment is due to be affirmed, and Martin’s appeal is thus frivo-
       lous. Sapuppo, 739 F.3d at 680.
             AFFIRMED.
